                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           MIDDLE DISTRICT OF TENNESSEE

JOHN DOE,                               )
                                        )
       Plaintiff,                       )
                                        ) Civil Action No: 3:22-cv-569
             v.                         )
                                        )
William Lee, Governor of the State      ) Judge Richardson
of Tennessee, in his official capacity, )
                                        )
Et al.                                  ) Magistrate Judge Newbern
                                        )
                                        )
       Defendants.                      )
______________________________________________________________________________

           PLAINTIFF’S MOTION TO PROCEED UNDER PSEUDONYM
                        AND FOR PROTECTIVE ORDER
______________________________________________________________________________

       Plaintiff John Doe hereby moves the Court for permission to proceed in this action under

the pseudonym “John Doe” and to enter a protective order barring the disclosure of his true name

or other information that identifies him or his family members, directly or indirectly and

requiring that any documents containing such information be redacted or filed under seal.

In support of this motion, Plaintiff relies upon his supporting memorandum and the record in this

case and states:

   1. Courts “may excuse plaintiffs from identifying themselves in certain circumstances”

       where “a plaintiff’s privacy interests substantially outweigh the presumption of open

       judicial proceedings.” Doe v. Porter,370 F.3d 558, 560 (6th Cir. 2004).

   2. Fed. R. Civ. Proc. 26(c) authorizes the Court to “make any order which justice requires to

       protect the party or person from annoyance, embarrassment, oppression, or undue bur-

       den or expense” upon motion of a party.



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   3. Because of the stigma attached to sex offenders and sex offender registration, it is

       standard practice in litigation brought by sex offenders challenging aspects of sex

       offender registry laws for courts to allow the plaintiffs to proceed under pseudonyms.

       E.g., Does #’s 1 – 9 v. Lee, 2021 WL 5761039 (M.D. Tenn. 2021); Doe #11 v. Lee, 2022

       WL 2181800 (M.D. Tenn. June 16, 2022).

   4. As detailed in Plaintiff’s accompanying Memorandum, Plaintiff’s privacy interests

       substantially outweigh the presumption of open judicial proceedings because his status as

       a registered sex offender and information related to this lawsuit exposes both him and his

       family to potential retaliation and stigma. (Sealed Ex. A, Doe Declaration; Sealed Ex. B,

       Criminal Case Docs; Sealed Ex. C, SORA Entry).

   5. Plaintiff has no objection to providing his true name to Defendants if the Court enters a

       protective order barring further dissemination of his true name and requiring that any

       documents containing his true name or other information that would identify him directly

       or indirectly be redacted or filed under seal. A proposed protective order is attached to

       this motion.



                                          CONCLUSION

       For these reasons articulated here and in Plaintiff’s accompanying memorandum of law,

Plaintiff requests that the Court enter a protective order that (a) permits Plaintiff to proceed in

this action under the pseudonym “John Doe,” (b) bars the disclosure of Plaintiff’s true name or

other information that identifies him or his family members, directly or indirectly, and (c)

requires that any documents containing such information be redacted or filed under seal.




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Respectfully submitted,

s/ Kyle Mothershead
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                                CERTIFICATE OF SERVICE

I hereby certify that on August 2, 2022, Plaintiff’s Motion to Proceed Under Pseudonym was
filed electronically with the Court’s electronic filing system. Plaintiff will serve Defendants Lee
and Rausch on August 2, 2022 by providing a true and correct copy of this document along
with the summons and complaint in this matter.

s/ Kyle Mothershead
Kyle Mothershead, BPR 22953




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